                IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               18-cv-388


 JOHNELIA PETTICE,                         )
                                           )
                     Plaintiff,            )
                                           )
             v.                            )           COMPLAINT
                                           )
 CHARLOTTE-MECKLENBURG                     )
 BOARD OF EDUCATION,                       )
                                           )
                     Defendant.            )
                                           )


      The plaintiff, Johnelia Pettice, complaining of defendant, alleges the

following:

                             NATURE OF ACTION

      1.     Plaintiff has instituted this action pursuant to the Americans with

Disabilities Act (ADA), 42 U.S.C. § 12111, et seq., as amended, (hereafter

“ADA”), and the common law of North Carolina.

                                   PARTIES

      2.     The plaintiff, Johnelia Pettice, is a resident of Mecklenburg County,

North Carolina.    At all times pertinent to this action, the plaintiff was an




       Case 3:18-cv-00388-GCM Document 1 Filed 07/16/18 Page 1 of 13
“employee” of defendant within the meaning and definitions of the ADA, 42

U.S.C. § 12111(4).

      3. The defendant, Charlotte-Mecklenburg Board of Education is a body

corporate established pursuant to N.C. Gen. Stat. § 115C-40 and is the proper party

for prosecuting and defending suits against Charlotte-Mecklenburg Schools.

Charlotte-Mecklenburg Board of Education shall hereafter collectively be referred

to as “defendant.” At all times pertinent to this action, defendant employed over

500 employees, and was the “employer” of plaintiff within the meaning and

definitions of the ADA, 42 U.S.C. § 12111(5)(A).

                                     FACTS

      4.    Plaintiff was initially employed by defendant beginning in September

1988 as an instructional assistant. Plaintiff has since held numerous positions with

defendant, including as a teacher assigned to teach students ranging from first to

sixth grades following certification in 1999. Plaintiff’s most recent position was a

Curriculum Resource Teacher.

      5.    As a Curriculum Resource Teacher, plaintiff instructed students

ranging from second to fourth grade with identified developmental needs in

reading and reading comprehension in small group settings. Additionally, Plaintiff

would provide assessment updates to the primary assigned teachers and parents of


                                         2


        Case 3:18-cv-00388-GCM Document 1 Filed 07/16/18 Page 2 of 13
each student about their progress and assist in designing lesson plans aimed at

increasing achievement in reading and reading comprehension.

      6.     Plaintiff excelled in the performance of her duties while under the

employ of defendant, as she had throughout her nearly 30-year career in the field

of education. Plaintiff’s performance reviews demonstrated that she met or

exceeded the reasonable expectations of her employer.

                           PLAINTIFF'S DISABILITY

      7.     Plaintiff suffers from Primary Open Angle Glaucoma (POAG) in both

eyes. POAG affects her visual acuity in her left eye and her visual field in both

eyes, which is significantly restricted. Plaintiff’s visual restrictions stemming from

POAG constitute a substantial limitation of her major life activity of seeing.

      8.     Defendant was informed and aware of plaintiff’s disability since 2010.

      9.     Plaintiff’s visual disability can be reasonably accommodated in order

for plaintiff to teach in larger classrooms with more students than small group

settings. Plaintiff had successfully managed her disability for over two decades,

with plaintiff using prescription eyeglasses designed to enhance her vision and

vision field and participating in rehabilitation programs including visual and non-

visual training.




                                          3


        Case 3:18-cv-00388-GCM Document 1 Filed 07/16/18 Page 3 of 13
      10.    Additionally, reasonable accommodations can be implemented for

plaintiff to perform the essential functions of her job as teacher including: a

portable desk lamp to aid in reading printed material; a portable reverse telescope

worn around the neck for visual field enhancement; and an external camera CCTV

mounted on a rolling table which can be used in the classroom to allow plaintiff to

scan the room more effectively and efficiently. These specific devices and

reasonable accommodations including allowing plaintiff to familiarize herself with

her classroom were listed in a letter to defendant dated, November 22, 2013, from

plaintiff’s medical provider, Metrolina Association for the Blind (MAB), following

an evaluation on October 7, 2013. The medical evaluation completed by MAB on

plaintiff was done at the request of defendant.

      11.    Plaintiff provided notice of her POAG diagnosis and request for

reasonable accommodations on or about November 22, 2013 to defendant through

the letter from MAB in order for plaintiff to teach in a full class of students.

Defendant refused to take any action to provide the reasonable accommodations.

Despite defendant’s lack of response to the November 22, 2013 letter, plaintiff

continued to perform the essential functions of her job during her employment as a

Curriculum Resource Teacher at different schools.




                                          4


        Case 3:18-cv-00388-GCM Document 1 Filed 07/16/18 Page 4 of 13
      12.    In August 2014, plaintiff was forced to provide information related to

her disability again to defendant. Plaintiff learned through her conversations with

defendant’s Human Resources (HR) Department that plaintiff’s file with

defendant’s HR Department had been lost. Plaintiff continued to perform the

essential functions of her job during the 2014-2015 and 2015-2016 school year as a

Curriculum Resource Teacher.

      13.    In August 2016, days prior to the start of classes, plaintiff was

abruptly informed by her supervisors that the position of Curriculum Resource

Teacher had been eliminated, and that plaintiff would be assigned a classroom of

approximately 30 fourth graders. Plaintiff had previously been informed that she

would remain in her role as Curriculum Resource Teacher as she had been

assigned for years prior.

      14.    In a meeting between defendant’s HR representatives Melissa

Dahmer, Robert Carmichael and plaintiff on August 25, 2016 to discuss the

placement into a position teaching fourth grade, plaintiff produced the November

22, 2013, letter from MAB outlining the reasonable accommodations requested in

order for her to serve as a teacher in the classroom.

      15.    Plaintiff indicated in the August 25, 2016 meeting that she would be

willing to teach the fourth-grade class as she had previously done, and she desired


                                          5


        Case 3:18-cv-00388-GCM Document 1 Filed 07/16/18 Page 5 of 13
to continue her employment with defendant. Plaintiff was directed by defendant to

provide updated medical information and evaluation from MAB regarding her

disability and reasonable accommodations.

      16.    At the conclusion of the August 25, 2016 meeting, plaintiff was

informed by defendant’s representatives that she would not be allowed to work and

would be forced to use sick days and accrued paid leave time until plaintiff could

be placed in another position with defendant or she provided documentation from

her medical provider. Defendant provided no justification for their refusal to allow

plaintiff to continue on with her assigned job duties.

      17.    On September 20, 2016 plaintiff met with representatives of MAB

and a medical examination was conducted related to her vision and POAG

diagnosis.

      18.    On October 4, 2016 plaintiff received training on adaptive visual

devices from MAB. Defendant was made aware of the training in a letter dated

October 4, 2016 from MAB, which indicated plaintiff had performed well in

training and had a basic understanding of how to use the equipment for school and

classroom purposes.

      19.    On October 6, 2016 plaintiff provided an updated letter from MAB to

defendant addressing her disability and the reasonable accommodations requested


                                          6


        Case 3:18-cv-00388-GCM Document 1 Filed 07/16/18 Page 6 of 13
by plaintiff, which were identical to those identified in MAB’s November 22, 2013

letter. The October 6, 2016, letter included a statement from MAB that “We feel

these accommodations would allow Ms. Pettice to perform the essential functions

of her job and allow her to continue to provide quality education to the children of

CMS.” Additionally, MAB’s October 6, 2016, letter indicated they would order

the devices (folding battery-operated desk lamp, 2.5x Optelec Powerscope

monocular used as a reverse telescope, and external camera CCTV with case and

portable table) and further train plaintiff on the use thereof, once plaintiff received

proper approval and payment from defendant.

      20.    Despite plaintiff’s repeated requests for accommodations and

supporting documentation from her medical provider, defendant was neither

willing to engage in the interactive process nor willing to provide her with

accommodations. Additionally, defendant failed and was unwilling to determine if

there were other available positions plaintiff was able to perform.

      21.     The devices and environmental modifications requested as reasonable

accommodations in MAB’s October 6, 2016 letter were inexpensive, reasonable,

and contemplated by the Equal Employment Opportunity Commission (EEOC)

regulations. In fact, upon information and belief, some of the devices or similar




                                          7


        Case 3:18-cv-00388-GCM Document 1 Filed 07/16/18 Page 7 of 13
equipment were already in the possession of defendant and used by other

employees at different schools.

      22.    From October 6, 2016 until on or about November 3, 2016, plaintiff

attempted to obtain a response from defendant related to her request for reasonable

accommodations, or as to when she could return to work.

      23.    Finally, On November 3, 2016, plaintiff was informed by defendant

they would not be providing the requested accommodations due to concerns

regarding student safety. Defendant’s assertions regarding student safety concerns

were unfounded and false.

      24.    Plaintiff was informed by a representative of defendant’s HR

department that she would be terminated when her sick leave and accrued paid

leave ran out and plaintiff would have to file for disability.

      25.    Following the direction of defendant’s representatives, plaintiff

remained out of work, exhausting her remaining sick and accrued leave through the

end of August 2017. In September 2017 plaintiff filed for short-term disability and

subsequently long-term disability, again, at the direction of defendant’s HR

representatives.

      26.    As a result of defendant’s directive, plaintiff subsequently and

involuntarily retired on December 22, 2017.


                                           8


        Case 3:18-cv-00388-GCM Document 1 Filed 07/16/18 Page 8 of 13
                         ADMINISTRATIVE REMEDIES

      27.     On or about December 20, 2016, plaintiff filed a Charge of

Discrimination with the EEOC (Charge # 430- 2017-00439) in its Charlotte, North

Carolina office. Plaintiff's charge alleged disability discrimination.

      28.     On February 22, 2018, the EEOC found reasonable cause to determine

plaintiff was denied a reasonable accommodation in violation of the ADA.

      29.     Following a failed conciliation on April 17, 2018, the EEOC issued a

Notice of Right to Sue (Conciliation Failure) on April 19, 2018.

      30.     Plaintiff has complied with all procedural prerequisites to filing this

action.

                          FIRST CLAIM FOR RELIEF
                Disability Discrimination in Violation of the ADA

      31.     Plaintiff incorporates the foregoing paragraphs as if fully set out

herein.

      32.     The ADA requires that a qualified individual with a disability be

reasonably accommodated to enable her to perform the essential functions of her

job in the absence of proof of some undue hardship.

      33.     At all times pertinent to this action, plaintiff was a qualified individual

with a disability who, because of a physical impairment, suffers a substantial

limitation of her life activity of seeing.

                                             9


          Case 3:18-cv-00388-GCM Document 1 Filed 07/16/18 Page 9 of 13
        34.   Defendant, through     its   agents,   wrongfully and   intentionally

discriminated against plaintiff because of her disability, in violation of the ADA,

on a continuing basis, as follows:

              a.   In failing to engage in a good-faith, reasonable, interactive

process to determine reasonable accommodations to enable plaintiff to continue to

work;

              b.   In denying plaintiff reasonable accommodations which would

have enabled her to continue to work in her position as a teacher;

              c.   In the alternative, in failing to identify other positions which

were available for plaintiff to work with defendant;

              d.   In effectively forcing plaintiff to apply for and ultimately to

submit to involuntary retirement;

        35.   As a proximate result of defendant’s illegal acts of disability

discrimination against plaintiff, plaintiff has suffered substantial damages,

including lost income and benefits and other economic losses; mental anguish and

emotional distress; loss of reputation and quality of life; and other damages to be

proven at trial.




                                           10


        Case 3:18-cv-00388-GCM Document 1 Filed 07/16/18 Page 10 of 13
      36.    Plaintiff is entitled to appropriate relief pursuant to the ADA,

including compensatory damages and reasonable attorneys' fees and costs for her

representation herein pursuant to 42 U.S.C. § 12117(a).

      37.    Defendant engaged in disability discrimination against the plaintiff

with reckless indifference to her federally protected rights. Accordingly, plaintiff

is entitled to punitive damages pursuant to 42 U.S.C. § 1981a(b).

                          SECOND CLAIM FOR RELIEF
               Plaintiff’s Claim for Wrongful Discharge in Violation
      of the Public Policy of North Carolina Against Discrimination Based on
                                      Disability

      38.    Plaintiff hereby incorporates the allegations of the foregoing

paragraphs as if fully set forth herein.

      39.    The public policy in North Carolina protects employees from

discrimination based on disability.

      40.    Defendant violated the public policy of North Carolina in its

termination of plaintiff’s employment because of her disability.

      41.    As a proximate result of defendant’s discharge of plaintiff in violation

of public policy, plaintiff has suffered substantial damages, including lost income

and benefits; emotional distress and mental anguish; loss of quality of life and

reputation; and other damages to be proven at trial.



                                           11


       Case 3:18-cv-00388-GCM Document 1 Filed 07/16/18 Page 11 of 13
      42.    Defendant has engaged in wrongful and egregious misconduct in

violation of plaintiff’s rights which was willful and deceptive, and evinced an

intentional and deliberate or reckless disregard for the rights of plaintiff.

Accordingly, plaintiff is entitled to punitive damages in an amount to be

determined by the jury.



                             PRAYER FOR RELIEF

      The plaintiff hereby requests the following relief:

      A.     That plaintiff be reinstated to her position with defendant;

      B.     That plaintiff recover of defendant back pay and restoration of all

benefits;

      C.     That plaintiff recover of defendant compensatory damages in an

amount in excess of $100,000;

      D.     That plaintiff recover of defendant punitive damages in an amount to

be determined by the jury;

      E.     That plaintiff recover the costs of this action, including reasonable

attorneys' fees for her representation herein, as required by 42 U.S.C. §12117(a);

      F.     That plaintiff recover pre-judgment and post-judgment interest on all

damages awarded herein; and


                                         12


       Case 3:18-cv-00388-GCM Document 1 Filed 07/16/18 Page 12 of 13
G.    That this Court grant such other relief deemed just and appropriate.

                        Request for Jury Trial

Plaintiff hereby demands a trial by jury on all issues presented herein.


This the 16th day of July, 2018.



                                   /s/Daniel C. Lyon
                                   Daniel C. Lyon (42806)
                                   Elliot Morgan Parsonage, PLLC
                                   300 E. Kingston Ave, Suite 200
                                   Charlotte, NC 28203
                                   Phone: (704) 707-3705
                                   E-Mail: dlyon@emplawfirm.com




                                    13


Case 3:18-cv-00388-GCM Document 1 Filed 07/16/18 Page 13 of 13
